          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 3:06CR415


UNITED STATES OF AMERICA                   )
                                           )
                                           )
                  VS.                      )           ORDER
                                           )
                                           )
TAMARA VARNADO                             )
                                           )


      THIS MATTER is before the Court on the Defendant’s notice of intent

to advance an antagonistic defense and compel the testimony of her co-

Defendant Paul Osuji or, in the alternative, to sever the trials to allow her to

compel his testimony, filed December 13, 2007. The Government has filed

an opposition to Defendant’s notice. Her request for an evidentiary hearing

on this matter is denied.

      Allegedly, Osuji would testify that Prince Yellowe, a Government

witness, was housed in the same jail facility as Osuji; that during their

incarceration together, Yellowe tried to persuade Osuji to plead guilty and

implicate Varnado in exchange for Yellowe seeking leniency on Osuji’s

behalf; that Yellowe also gave Osuji “pointers” on what to say during the




     Case 3:06-cr-00415-MOC     Document 107    Filed 12/18/07   Page 1 of 6
                                       2

trial; that “upon information and belief” (the source of which is not

revealed), Yellowe did so “to mask illegal activities of the two not previously

disclosed by [him] as a part of his cooperation agreement with the

[G]overnment;” that Yellowe told Osuji to conceal the backdating scheme

from Varnado; and that Yellowe asked Osuji to provide false testimony and

“‘point the finger at Tamara and you go home,’ so as to prevent Yellowe

from being further detained at the Mecklenburg County Jail.” Defendant’s

Notice, at 1-2.

      First, it is observed that the primary source of this information is

Yellowee who may be called as a witness by Varnado or, if called by the

Government, Varnado will have full opportunity to cross examine Yellowee.

      Second, if Osuji takes the stand in his own behalf, Varnado may

cross examine him regarding any relevant conversation he may have had

with Yellowee.

      Third, if Osuji is called as a witness by Varnado, the Court, in the

absence of the jury, may determine whether he chooses to waive his Fifth

Amendment privilege guaranteed by the Constitution. If he chooses not to

waive the privilege, the Court will determine whether a severance should

be granted.



     Case 3:06-cr-00415-MOC     Document 107    Filed 12/18/07   Page 2 of 6
                                      3

      As a general rule, the Court will adhere to the well established

principle that defendants property joined in an indictment “are to be tried

together and this is particularly so if a conspiracy is charged[.]” United

States v. Parodi, 703 F.2d 768, 779 (4th Cir. 1983). Joint trials “play a

vital role in the criminal justice system[.]” Richardson v. Marsh, 481 U.S.

200, 209 (1987).

      [A party moving for severance] must establish (1) a bona fide
      need for the testimony of his co-defendant, (2) the likelihood
      that the co-defendant would testify at a second trial and waive
      his Fifth Amendment privilege, (3) the substance of his co-
      defendant’s testimony, and (4) the exculpatory nature and
      effect of such testimony.

Parodi, supra. The Court must find a reasonable probability that the

exculpatory evidence would be forthcoming. United States v. Becker,

585 F.2d 703, 707 (4th Cir. 1978). In reaching a decision to sever, the

Court must carefully weigh the inconvenience and expense of a second

trial and producing witnesses at separate trials against the defendant’s

interest as involved in a joint trial. United States v. Uhrich, 228 F. App’x

248, 255-56 (4th Cir.), cert. denied sub nom. Leffler v. United States,

128 S. Ct. 407 (2007). The Court must also carefully consider whether

denying the severance motion would deprive the moving defendant of a fair




     Case 3:06-cr-00415-MOC     Document 107    Filed 12/18/07   Page 3 of 6
                                        4

trial and result in a miscarriage of justice. United States v. Reavis, 48

F.3d 763, 767 (4th Cir. 1995).

      Defendant Varnado makes no reasonable showing that Osuji would

likely surrender his Fifth Amendment rights and agree to testify as outlined

in her motion, nor does she show a bona fide need for the alleged

evidence as being likely to affect the outcome of the case. In fact, if Osuji

agreed to testify and did so in accordance with his statement to the Federal

Bureau of Investigation, his testimony would inculpate, not exculpate,

Varnado. See Defendant’s Motion, at 2, n.2. It is also worthy of note that

Varnado is not entitled to a separate trial merely because she “may have a

better chance of acquittal in separate trials.” Zafiro v. United States, 506

U.S. 534, 540 (1993) (citing United States v. Martinez, 922 F.2d 914,

922 (1st Cir. 1991) (other citations omitted).

      Defendant also asserts that she will present a defense that is

antagonistic to that of her co-Defendant Osuji. Mutually antagonistic

defenses are not prejudicial per se. “Moreover, Rule 14 does not require

severance even if prejudice is shown; rather, it leaves the tailoring of the

relief to be granted, if any, to the district court’s sound discretion.” Id. at

538-39.



     Case 3:06-cr-00415-MOC      Document 107     Filed 12/18/07   Page 4 of 6
                                        5

      In order to justify a severance on the basis of an antagonistic

defense, the defendant must demonstrate “that the conflict is so prejudicial

that the differences are irreconcilable, ‘and that the jury will unjustifiably

infer that this conflict alone demonstrates that both are guilty.’” Becker,

supra (quoting United States v. Ehrlichman, 546 F.2d 910, 929 (1976))

(other citations omitted). The Defendant here has failed to show

probable or likely possible prejudice to her defense in this case.

      Finally, the Court notes that this case has previously been set for trial

on several occasions and then continued for various reasons. At this late

date, less than one month before trial, a variety of problems would occur if

a severance and continuance were granted. Attorneys, witnesses, court

personnel, court space and travel accommodations for affected persons

would have to be rescheduled. It is anticipated that several dozen

witnesses may be called from various parts of the country. The Defendant

has not shown a likelihood of prejudice to her defense which could not be

avoided by appropriate action on the part of the presiding judge. Zafiro,

supra.




     Case 3:06-cr-00415-MOC      Document 107    Filed 12/18/07   Page 5 of 6
                                    6

     IT IS, THEREFORE, ORDERED that the Defendant’s notice of intent

to compel the testimony of her co-Defendant Paul Osuji and her alternative

motion to sever are DENIED.

     IT IS FURTHER ORDERED that Defendant’s request for an

evidentiary hearing is likewise DENIED.

                                    Signed: December 18, 2007




     Case 3:06-cr-00415-MOC   Document 107   Filed 12/18/07     Page 6 of 6
